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                        United States District Court                 FILED IN CLERK'S OFFICE
                                                                         U .S.D .C . Atlanta
                        Northern District of Georgia
                              Atlanta Division                          MAY 2 2 2009
Juan Jose Rosales, Elizardo                                         JAWS fy, It N . Cle rk

Rivera Sanchez,lesus Gomez                                                                     Wk
Velasquez, and Maitin
Maitinez Velasquez,


Plaintiffs,
                                      COMPLAINT
                                                          I    09-r, V - i 3g,4%
V.


Geren Rides, Inc., a Georgia
Corporation,


Defendant .


                         PRELIMINARY STATEMENT

1.     This is a civil action brought on behalf of the named plaintiffs, Mexican

nationals, and all similarly situated H-2B workers (hereinafter collectively referred

to as "Plaintiffs") who were recruited by Defendants to work for them as

production helpers under the H-2B visa program, 8 U.S.C. § 1101(a)(15)(H)(ii)(b) .

Plaintiffs worked at various locations throughout the Southeast United States since

2007. As production helpers , the Plaintiffs worked grueling hours for little
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compensation . Here they assert the rights afforded to them by the Fair Labor

Standards Act, 29 U .S .C. §§201 et seq. ("FLSA") and state laws regulating their

employment and common law . They bring this action individually on their own

behalf and on behalf of a class of similarly situated individuals .

2. Plaintiffs allege that Defendant Geren Rides, Inc . ("Geren Rides") failed to

pay them minimum wages and overtime as required by the FLSA . Plaintiffs

further contend that Geren Rides violated the FLSA's record keeping provision

requiring employers maintain payroll records and issue wage statements as

required by applicable federal regulations . Finally, Plaintiffs' allege Defendant

breached the terms and conditions of their respective work contracts .

3 . Plaintiffs seek an award of money damages stemming from Defendants'

illegal conduct . Plaintiffs also seek injunctive relief to ensure that they and other

class members will not be subjected to similar violation of the law in the future by

Geren Rides .

                                  JURISDICTION

4. Jurisdiction is conferred upon this Court by 29 U .S.C. §216(b), this is an

action arising under the FLSA, and by the doctrine of supplemental jurisdiction

under 28 U.S.C. § 1367.




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                                       VENUE

5. Venue is appropriate under 28 U .S.C. § 90 because Defendant transacts

business in this District and the acts complained of occurred in this District .

                                      PARTIES

                                       Plaintiffs

6. Plaintiffs, Juan Jose Rosales, Elizardo Rivera Sanchez, Jesus Gomez

Velasquez, and Maitin Maitinez Velasquez, are Mexican nationals who reside in

Mexico. Plaintiffs bring this case on behalf of themselves and a class of similarly

situated workers defined as :

      All persons recruited, contracted or employed by Geren Rides, Inc .
      under the H-2B visa program at any time during the period 2007
      through the present

The named Plaintiffs and the class they seek to represent are hereinafter referred to

collectively as "Plaintiffs."

7. Plaintiffs are former or current H-2B guest workers who were recruited from

Mexico by Defendant in 2007 .

8. At all relevant times, Plaintiffs were employed by Geren Rides as defined by

the FLSA, 20 U .S .C. § 203(g).




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9.     During the periods of their employment by Defendant, Plaintiffs and other

similarly situated employees of Defendant were engaged in the production of

goods for interstate commerce or as part of an enterprise of the Defendant that was

engaged in interstate commerce.

                                      Defendant

10. Defendant Geren Rides, Inc., is a corporation registered in the state of

Georgia. The registered agent and Chief Executive Officer of Geren Rides i s

Joanna M . Geren , 3541 Hilary Lane , Valdosta, Lowndes County , GA 31601 . At

all times relevant to this action, Geren Rides, Inc . was an employer of Plaintiffs

within the meaning of the FLSA .

11 . At all times relevant to this Complaint, Defendant was and is engaged in the

production of goods for interstate commerce or was an enterprise engaged in

interstate commerce .

12 . At all times relevant to this action, Defendant exercised the authority to

direct, control, and/or supervise the work of the named Plaintiffs and the members

of the Plaintiff class.




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                        CLASS ACTION ALLEGATIONS

13 .      Plaintiffs bring this action on behalf of a class of all similarly situated

workers defined as : "All persons recruited, contracted or employed by Geren

Rides, Inc. under the H-2B visa program at any time during the period 2007

through the present ." Plaintiffs do not bring this claim on behalf of any executive,

administrative, and professional employees exempt from coverage under the

FLSA.

14. With respect to Counts I Plaintiffs bring this action as a collective action

under the FLSA on behalf of the class defined in paragraph 15 . A collective action

is appropriate because the employees described are "similarly situated" to the

named plaintiffs. 29 USC § 216(b) .

15 . Plaintiffs bring Count II of this action as a class action pursuant to Rule

23 of the Federal Rules of Civil Procedure, on behalf of the class defined in

paragraph

16. Certification of a class of persons who may receive relief pursuant to

Count II is appropriate pursuant to Fed . Civ. P. 23(b)(3) because :




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a.       the class is so numerous that it is impractical to bring all its members

         before this Court. On information and belief the class consists of

         more than 100 H-2B workers ;

b . there are questions of law and fact common to the class ;

c . the named plaintiffs' claims are typical of those of the class ;

d. the named plaintiffs will fairly and adequately protect the interests of

         the class, and plaintiffs have retained counsel experienced in matters

         of this type ;

e. questions of law common to the members of the class predominate

         over any questions affecting only individual members and a class

         action is superior to other available methods for the fair and efficient

         adjudication of the controversy .

f.       testimony and evidence about Defendants ' employment and/or

         recruitment practices will affect and apply to the claims of all class

         members . Purely individual questions will be restricted to damage

         questions should liability be established . If no class action is certified,

         it will make it impractical for individual class members to pursue

         relief or may lead to a large number of separate lawsuits, all of which




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             will rely on the same kind of proof and take roughly the same amount

             of time, causing an unnecessary burden on the courts .

                             STATEMENT OF FACTS

17.   In 2006, Geren Rides , Inc, applied to the U . S. Department of Labor for

temporary certification to employ temporary foreign workers through the H-2B

program, also known as the guestworker program, to begin working in the U .S. in

2007 to work as traveling production helpers .

18 . In each of the relevant years, Defendant offered Plaintiffs employment,

either directly or through an agent, that included, inter alia, the contract terms set

forth in the following documents :

      a. Application for Alien Certification known as ETA form 750

             (hereinafter "ETA 750") for each of the relevant years ;

      b . Additional documents submitted to either the INS or the USCIS of the

             Department of Homeland Security and to the Department of State ;

      c.     The regulations governing the foreign guestworker visas , 20 C.F.R.

             part 655 ;

      d.     The written d isclosure of the terms offered by Defendant provided to

             the Plaintiffs ; and




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19 . Each of the ETA 750 forms submitted to the U .S. Department of Labor

included the following certifications :

      a . "The wage offered equals or exceeds the prevailing wage and I guarantee

          that if a labor certification is granted, the wage paid to the alien when the

          alien begins work will equal or exceed the prevailing wage which is

          applicable at the time the al ien begins work ."

      b . "The job opportunity's terms, conditions and occupational environment

          are not in contrary to Federal, State or Local law ."

20 . As part of its temporary labor certification applications, Geren Rides

prepared and submitted to the U . S . Department of Labor clearance orders , each of

which contained a certification from Geren Rides that the clearance orders

described the actual terms and conditions of employment being offered and

contai ned all material terms and conditions of the job. The U. S . Department of

Labor accepted the clearance orders for a temporary season beginning May 23,

3007 and lasting until November 20, 2007 that Geren Rides submitted .

21 . The clearance orders were then circulated to local job service offices in an

effort to recruit U .S. workers to fill the positions offered . When these efforts failed,

the Department of Labor certified a shortage of labor and the Department of




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Homeland Security issued H-2B visas to fill the employment needs Geren Rides

described in his clearance orders .

22.    The clearance orders submitted by Geren Rides served as the work contracts

between the company and its H-2B workers, including the Plaintiffs .

23. In Defendant's clearance orders, Defendant specified the minimum terms of

employment which were to be offered to all H-2B workers during the period stated

in the application .

24 . The terms and conditions of employment as specified in the ETA-750 and

the clearance order created a contract between the Defendant and the Plaintiffs .

25 . The Plaintiffs were also beneficiaries of the agreement made between the

Defendant and the Department of Labor in obtaining the certification for hiring

foreign guest workers .

26 . The terms and conditions of employment offered by Defendant induced the

Plaintiffs to travel from their home to the United States to work for the Defendant .

27 . Defendant willfully breached the terms of his contract with Plaintiffs by,

among other things, failing to pay the basic rate of pay promised in the contract for

each hour worked .

28. Plaintiffs suffered substantial damages as a result of Defendant's breach of

contract.


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29. Geren Rides then, through its agents, recruited the Plaintiffs, in their home

country of Mexico, to work as production helpers in the U .S.

30. The Plaintiffs were recruited through the Servicio National de Empleo (the

National Employment Service) ("SNE"), a Mexican federal government program

that recruits Mexican nationals for jobs within Mexico and for temporary

guestworker programs in the U.S . and Canada .

31 . Plaintiffs initially learned about the employment opportunity with Geren

Rides through SNE representative Imelda Mauricio Montafiez. Plaintiffs were told

they would work as H-2B workers in the U .S. and they would receive around $7-

8USD per hour .

32 . Plaintiffs' then traveled to Monterrey, Nuevo Leon, Mexico to process their

H-2B visa applications and have their interviews conducted at the U .S. Consulate

office in Monterrey.

33 . Plaintiffs' were met in Monterrey by Imelda Mauricio Montaftez and other

representatives of the SNE, Humberto Saunas, Teresa Inguanzo Rosales, and

Sandra Bederra ; additionally, Plaintiffs allege that there was a Geren Rides

representative present during the visa processing but Plaintiffs do not recall his

name . All aided in the visa application process, and in transporting the Plaintiffs

into the U .S.



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34. Plaintiffs each paid between approximately $500 .00 and $580 .OOUSD in

recruitment, visa and passport processing (not all Plaintiffs paid passport costs as

some already had passports), and lodging and transportation fees . However, Geren

Rides paid the costs of transportation from Monterrey, Nuevo Leon, Mexico to the

worksite in the U .S. The approximate costs the Plaintiffs incurred are itemized as

follows:

      a. SNE Recruitment Fee (Banamex deposit): approx . $ l 00 .00USD;

      b. SNE required Antidoping Test : approx. $350.OOMXN (approx .

           $26.44USD) ;

      c. SNE required Criminal Background Check : approx. $50.OOMXN

           (approx . 3 .63USD);

      d. Mexican Passport (including costs of photos) : approx. $ l 000.00MXN

           (approx . 75 .54USD) ;

      e. U . S. Consulate Visa Interview Fee (Paid to SNE) : approx $100 .OOUSD ;

      f. Club Mex Fund (paid into a personal account) : approx. $ l 00 .00USD;

      g. Transportation co sts from home community to Monterrey : approx.

           $700. OOMXN (approx. $52.88USD); and

      h . Food/Lodging (in Mexico and in transit to U .S .): approx . $1650.OOMXN

           (approx. $119. 87USD).



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35 .   The charges for visa , passport , transportation , and border crossing expenses

described above were an incident of and necessary to Defendant's employment of

Plaintiffs and each member of the proposed plaintiff class . The visas, passports

and transportation of workers to the United States and the employees' border

crossing fees were primarily for the benefit or convenience of Defendant .

36.    All of the expenses described in paragraph 36 were primarily for the benefit

of the Defendant .

37 . At least some of the expenses described above were, under Mexican Federal

Employment Law in effect at the place of recruitment, required to be borne directly

by Defendant or his agents as recruiters and/or contractors of Mexican citizens in

Mexico for work in the United States (see Article 28, Section I(b) of the Federal

Labor Law of Mexico) .

38. As a matter of policy that Defendant applied to all Plaintiffs, Defendant did

not reimburse Plaintiffs during their first week of work for the in-bound expenses

described in paragraph 36 nor did they reimburse Plaintiffs for their return

transportation expenses during the last week of work .

39 . As a result of the expenses described in paragraph 34 and Defendant's policy

not to reimburse those expenses, Plaintiffs did not receive the minimum wage,

overtime premium, the prevailing wage and/or living wage mandated by the FLSA,

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the H-2B regulations, or applicable local law during their first work week or their

last work week.

40 . After Plaintiffs were granted their visas, they boarded a bus carrying

between 30-50 H-2B production helpers . The bus took the H-2B workers,

including the Plaintiffs to the U .S . and their employment sites . Several of these H-

2B workers were bound for fair operators other than Geren Rides . However, they

were recruited by the same agencies and actors as the Plaintiffs .

41 . Present with Plaintiffs on the bus was a representative of Germ Rides .

Plaintiffs refer to the representative as "El Chaparrito" . This same representative

confiscated all of the H-2B workers' passports and visas, including Plaintiffs'

passports and visas. The passports and visas were Plaintiffs only identification

documents, and the only documentation they had to prove they were authorized to

be present and work in the U . S.

42. Plaintiffs did not receive their passports until sometime later, on or about the

date of their second pay day, after Plaintiffs continued to complain to their

supervisors about not having access to them .

43 . On approximately May 25, 2007 the Plaintiffs arrived at the first worksite .

The Plaintiffs did not receive on this first day or anytime during their employment

with Geren Rides , Inc. any training in Spanish on how to assemble , operate , or


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maintain the rides . The Plaintiffs were given a brief instruction lasting just a few

minutes on how to turn on and off the rides, the instruction was in English and

consisted mainly of finger pointing .

44 . Plaintiffs and all members of the Class present had an express, constructive,

or implied agreement that Defendant would pay them wages at the rate required by

any applicable federal and/or state law when those wages were due for each hour

or part of an hour that the Plaintiffs and class members performed compensable

work under the FLSA for the Defendant at the rate required by any applicable

federal and/or state law .

45 . As a result of Defendant's failure to reimburse Plaintiffs and the Class for some

of the transportation, passport, border crossing, and visa costs as described above

during the first workweek, Plaintiffs and the Class were not paid all of their wages

when due at the wage rate that the Defendant had agreed to pay them during the first

workweek they were employed .

46 . The Plaintiffs were required to travel with Geren Rides to job sites in

Georgia, Tennessee, Alabama, and Mississippi . Because of the rigorous travel and

work schedule the Plaintiffs often worked more than 72 hours per week . The

Plaintiffs worked additional hours when the fair was in transit ; they often worked

through the night to take down and clean up the rides at one location, pack them


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and move to the next location, unpack them and set up the rides at that next

location, then open the fair for business that same day .

47 . Geren Rides failed to keep accurate and adequate records with respect to the

Plaintiffs' hours worked and wages paid .

48 . Geren Rides failed to furnish Plaintiffs earning statements . Plaintiffs were

paid a small amount, approximately $20.OOUSD, in cash a day and then Plaintiffs

received the remainder of their wages once a week . Every Thursday they received

in cash, in an envelope with no markings, approximately $130 .OOUSD.

Accordingly each Plaintiff was paid approximately $270 .OOUSD in cash per week.

49 . Geren Rides furnished the Plaintiffs with uniforms (a baseball hat and a t-shit

bearing the Geren Rides name) which were deducted from their first paid wages, in

the amount of approximately $15 .OOUSD.

50. The Plaintiffs contend that while they were employed by Geren Rides they

were subjected to poor housing conditions . The plaintiffs lived in overcrowded

trailers with no air cond ition, overcrowed and unclean bathroom facilities, and no

kitchen facilities.

51 . At all relevant times, Defendants suffered or permitted the Plaintiffs to work

or provide services to them .




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52 .   At all relevant times, Defendants controlled , supervised and directed the

Plaintiffs in the performance of their work .

53 . At all relevant times, Defendants provided Plaintiffs with the necessary

training, equipment and uniforms .

54. During their employment with Defendants, Plaintiffs worked in excess of

forty hours in a work week .

55 . Defendants did not pay Plaintiffs the federal minimum wage for all hours

worked .

56.    Defendants did not pay Plaintiffs the prevailing wage (and/or living wage,

where applicable) for all hours worked .

57. Defendants are employers or joint employers of Plaintiffs .

58 .   Defendants did not pay Plaintiff the overtime premium for all hours worked

in excess of forty (40) hours per week .

59 . Defendants failed to pay Plaintiffs for all hours worked .

60 .   Defendants failed to pay Plaintiffs all wages earned .

61 .   Defendants ' failure to pay wages in compliance with the Fair Labor

                   .
Standards Act was willful




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62 . Defendants failed to post in a conspicuous location a poster detailing

Plaintiff' s rights under the Fair Labor Standards Act as required under 29 C .F.R. §

516.4 .

                       FAIR LABOR STANDARDS ACT (FLSA)
                       COLLECTIVE ACTION ALLEGATIONS

63 . The named Plaintiffs seek to bring their claims under the FLSA on behalf of

themselves individually, and all other similarly situated employees of Defendants

who worked in any pay period falling within three chronological years

immediately preceding the date on which this action was file and continuing

thereafter through the date on which final judgment is entered in this action and

who timely file (or have already filed) a written consent to be a party to this action

pursuant t o 29 U. S.C. § 216(b). They seek unpaid minimum wages , overtime

wages, and liquidated damages .

64.       Plaintiffs and the members of the FLSA class are similarly situated .

Plaintiffs and the Class came to work for Defendant as H-2B guest workers

pursuant to a visa issued under 8 U .S.C. § 1101(a)(15)(h)(ii){b}. Plaintiff and other

FLSA class members worked for Defendant as production helpers . Plaintiffs were

paid a flat weekly wage .

65 .      Plaintiffs and the Clas s they seek to represent under 29 U . S .C. § 216(b) were

each paid wages less than those required by 29 U .S .C. § 206(a) during the first

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workweek in each year that they were employed by Defendant . Plaintiffs, and the

Class who traveled from Mexico to work for Defendant were required to pay for

travel, visa, passport and border crossing expenses . These expense, which were for

the benefit of the Defendant, reduced Plaintiffs' and other statutory class members'

wages during the first workweek below minimum wage required by FLSA .

66 .   Plaintiffs and the statutory class they seek to represent under 29 U .S.C. §

216(b) were also each paid wages less than those requ ired by 29 U .S.C. § 206(a)

during certain pay periods in each year they were employed by Defendant . This

failure occurred when Defendant paid its employees a flat weekly wage regardless

of the number of hours each employee was required to work during that workweek .

67 . Plaintiffs and the Class they seek to represent under 29 U.S.C. § 216(b),

were each paid wages less than those required by 29 U .S .C. § 207(a) during certain

pay periods in each year they were employed by Defendants in which they were

required to work more than forty hours . This failure occurred when Defendant

required its employees to work more than 40 hours during certain workweeks

without compensating its employees at one and a half times the regular rate of pay .




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                                      CLAIMS

                       FIRST CLAIM FOR RELIEF :
                   FAIR LABOR STANDARDS ACT (FLSA)

68 . Plaintiffs restate and reallege Paragraphs 1 through 67 as if stated herein .

69 . Defendant failed to pay Plaintiffs and the members of the statutory class at

least the required federal minimum wage for each hour or part of an hour that they

worked in each workweek, in violation of 29 U .S.C . §206.

70 .   Defendant made unlawful wage deductions from plaintiffs and the members

of the statutory class which resulted in payment of wages at a rate or in an amount

less than the minimum wage rates required by the FLSA .

71 .   Defendant knew or showed reckless disregard as to whether his conduct was

prohibited by the Fair Labor Standards Act and its accompanying regulations .

72 . As a result of Defendants' actions, Plaintiffs and the Class have suffered, and

continue to suffer, damages in the form of unpaid wages and liquidated damages

that may be recovered from Defendant under 29 U .S.C. § 216(b) .

                        SEC OND CLAIM FOR RELIEF :
                            BREACH OF CONTRACT

73 . Plaintiffs restate and reallege each and every allegation set forth in

Paragraphs 1 through 68 as if stated herein .

74.    This claim arises under the common law of contracts .


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75 . Defendant offered Plaintiffs, and Plaintiffs accepted employment with the

Defendants on the terms and conditions set forth above .

76. Defendant willfully breached their contract with Plaintiffs by not paying

Plaintiffs at the required wage per hour for each hour of work performed under the

contract.

77 . As a result, Plaintiffs suffered injury .

                               JURY TRIAL DEMAND

78. Plaintiff and the Class demand trial by Jury.

                                PRAYER FOR RELIEF

WHEREFORE PLAINTIFFS PRAY FOR RELIEF AS FOLLOWS :

   1 . Damages in an amount to be proven at trial ;

   2 . An Order certifying the Class for Counts I and II ;

   3 . Injunctive relief requiring Defendant comply with the terms its

            contractual obligations ;

   4. An Order awarding Plaintiffs' their Attorneys' Fees, Costs and

            Disbursements ;

   5.       Any other relief this Court deems equitable and just.




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Submitted this 22"a day of May, 2009 .




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